           Case 1:20-cv-07269-VEC-OTW Document 159 Filed 03/21/22 Page 1 of 6



1                              IN THE UNITED STATES DISTRICT COURT
2

3                         FOR THE SOUTHERN DISTRICT OF NEW YORK

4    THE NATIONAL ACADEMY OF                           Case No.: 20-cv-07269-VEC-OTW
5    TELEVISION ARTS AND SCIENCES, INC.
6    and ACADEMY OF TELEVISION ARTS &                  CERTIFICATION OF JASON
                                                       GOODMAN
7    SCIENCES
8    Plaintiffs,
9    v.
10   MULTIMEDIA SYSTEM DESIGN, INC,
11
                    Defendant
12

13           Jason Goodman (“Goodman”) by and for himself pro se comes now to certify under
14
     penalty of perjury that he has filed a copy of the Order at ECF No. 156 in each of the following
15
     cases and that these represent all the cases in which Goodman or any company in which
16
     Goodman is a majority shareholder is party.
17

18   Goodman v Bouzy et al, Goodman v Sharp et al, Sweigert v Goodman, and Steele et al v

19   Goodman. Copies of filing receipts are attached for each (EXHIBIT A)
20

21
     Signed this 21st day of March 2022
22
     Respectfully submitted,
23

24                                   ____________________________________________________
                                                                       Jason Goodman, Pro Se
25                                                                      252 7th Avenue Apt 6s
                                                                         New York, NY 10001
26
                                                                               (323) 744-7594
27                                                              truth@crowdsourcethetruth.org

28
     CERTIFICATION OF JASON GOODMAN - 1
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                           (EXHIBIT A)
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  From:    Jason Goodman truth@crowdsourcethetruth.org
Subject:   Goodman v Bouzy et al 1:21-cv-10878-AT-JLC Judicial Notice
   Date:   March 21, 2022 at 9:16 PM
     To:   Temporary_Pro_Se_Filing@nysd.uscourts.gov




            Goodman v
           Bouzy…its.pdf
             Case 1:20-cv-07269-VEC-OTW Document 159 Filed 03/21/22 Page 4 of 6


  From:    Temporary Pro Se Filing NYSD temporary_pro_se_filing@nysd.uscourts.gov
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       Your email has been received by the Pro Se Intake Unit of the United States District
       Court for the Southern District of New York. (This is not the United States Bankruptcy
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       Documents from pro se litigants that meet the required standards for electronic filing will
       be filed and will appear on the ECF docket within two business days of receipt (see
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       Required Standards for Filing by Email:
          · Documents must be attached to the email in PDF format, no larger than 10
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             ·    The email and attached document must contain the case number, filer’s name,
                  address, and telephone number;
             ·    Documents must be signed by the filing party by either
                       ·    (a) signing by hand and then scanning the document;
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       United States Courthouse
       Pro Se Intake Unit
       500 Pearl Street
       New York, NY 10007

       or

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       Pro Se Intake Unit
       300 Quarropas Street
       White Plains, NY 10601

       For more information on the Standards for Filing by Email go
       to: https://nysd.uscourts.gov/sites/default/files/pdf/covid-19/Notice%20-
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             Case 1:20-cv-07269-VEC-OTW Document 159 Filed 03/21/22 Page 5 of 6


  From:    no-reply@mied.uscourts.gov
Subject:   Pro Se Document Submission
   Date:   March 21, 2022 at 8:54 PM
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       Pro Se Document Submission
       Filer's Name: Jason Goodman

       Filer's Email: truth@crowdsourcethetruth.org

       Filer's Phone: 323-744-7594

       Case Number: 22cv10002GADKGA

       Filer's Signature: S/ Jason Goodman


       File 1: Uploaded as "Judicial Notice Drain02 with exhibits300.pdf", saved and attached as
       "File_1_ProSe_20220321_20_53_57_264.pdf"
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       I agree to each of the following:

              1. I am intending to file the attached document(s) with the court.
              2. I am not a licensed attorney, e-filer or submitting on behalf of an incarcerated party.
              3. If filing a new case and paying the filing fee, the payment information will be sent in a separate email. Do not upload
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       For technical assistance, please call (313) 234-5025.
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